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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
              Southern
     ____________________               California
                          District of _________________
                                          (State)
                                                                 7
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                       
                                       X     Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                        Watkins Landmark Construction
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)                              1 ___
                                                   7 ___
                                                     8 6     9 ___
                                                                 9 ___
                                                                    3
                                       2 ___
                                       ___ 0 – ___       ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                       5441 Avenida Encinas
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                        Suite A
                                       _________________________________________________
                                                                                                      _________________________________________________
                                                                                                      P.O. Box

                                        Carlsbad
                                       ______________________________       CA      92008
                                                                            _______ _________         _____________________________ _______ _________
                                       City                                 State    ZIP Code         City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                        San Diego County
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor          Watkins Landmark Construction
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)         www.watkinslandmark.com
                                    _____________________________________________________________________________________________________




7.    Type of debtor                X
                                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    X None of the types of business listed.
                                    
                                     Unknown type of business.

9.    To the best of your           X
                                        No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:
                                    X Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                    
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    X The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                    
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a              X No
                                    
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor            Watkins Landmark Construction
                  _______________________________________________________                                  Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim                 Amount of the claim
                                                                                                                                                     above the value of
                                                                                                                                                     any lien

                                                   Lendspark Corporation
                                                  ______________________________________                 Breach of Contract
                                                                                                        _________________________________               1,084,000.00
                                                                                                                                                     $ ________________

                                                  ______________________________________                _________________________________            $ ________________

                                                  ______________________________________                _________________________________            $ ________________

                                                                                                              Total of petitioners’ claims              1,084,000.00
                                                                                                                                                     $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

       Lendspark Corporation                                                                 Steven    T. Gubner
                                                                                             ________________________________________________________________
      ______________________________________________________________
      Name                                                                                   Printed name

      2554 Gateway Road                                                                       BG Law LLP
                                                                                             ________________________________________________________________
      ______________________________________________________________                         Firm name, if any
      Number Street

      Carlsbad                                   CA                    92009                  21650 Oxnard Street, Suite 500
                                                                                             ________________________________________________________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code                              Number Street

                                                                                             Woodland    Hills
                                                                                             _________________________________ CA             91367
                                                                                                                               ______________ _____________
                                                                                             City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any
      R. Todd Stichler, Chief Executive Officer                                                                                               sgubner@bg.law
      ______________________________________________________________                         Contact phone   (818)  827-9000
                                                                                                              _________________        Email ___________________________
      Name

      2554 Gateway Road                                                                                      156593
      ______________________________________________________________                         Bar number      ___________________________________________________
      Number Street
      Carlsbad                                   CA                    92009                 State
                                                                                                             CA
                                                                                                             _________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                      06/12/2023
      Executed on _________________
                  MM / DD / YYYY                                                             ________________________________________________________________
                                                                                             Signature of attorney

     ______________________________________________________________
                                                                                             Date signed      06/12/2023
                                                                                                              _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                              MM / DD / YYYY



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Debtor
                Watkins Landmark Construction
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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